          Case 1:21-cr-00222-TFH Document 66 Filed 03/23/22 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       CASE NO. 21-cr-222-1 (TFH)
               v.                             :
                                              :
JULIAN ELIE KHATER                            :
                                              :
                       Defendant.             :


                    GOVERNMENT’S MOTION FOR RECONSIDERATION

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby moves this Court to reconsider its March 22, 2022 Minute Order,

directing the government to “promptly make the video at issue publicly available without

restrictions by providing access using the ‘drop box’ technical solution….” The government does

not object to the public release of the video in question. However, in light of the fact that the

defendant has submitted it to the Court as a defense exhibit in support of his motion, the

government should not be responsible for the public release of this judicial record.

       As background, Petitioner (The Press Coalition) filed an Application for Access to Video

Exhibit (ECF No. 62) pursuant to the procedure outlined by this Court in Standing Order 21-28

(BAH) (“Standing Order”). In re Press Coalition’s Motion for Access to Video Exhibits and to Set

Aside Standing Order No. 21-28 (May 14, 2021). The video at issue is the video and audio

recording of the defendant’s March 14, 2022, post-arrest interview, submitted by the defendant in

support of his motion to suppress statements (ECF No. 54, Exhibit B). The government does not

contest that the video is a judicial record, not does it oppose the public release of the exhibit

considering the defendant has not objected to its release.


                                                  1
          Case 1:21-cr-00222-TFH Document 66 Filed 03/23/22 Page 2 of 3




       The Standing Order outlined in the Court’s Minute Order specifically pertains to only “the

government’s video exhibits,” directing that the government implement “the proposed ‘drop box’

technical solution to make available for viewing the government’s video exhibits submitted to

the Court in Capitol Cases, including identifying and segregating by case name and number such

video exhibits and posting such video exhibits promptly from the time of the proceedings for which

the exhibit is submitted, in compliance with any order issued by the presiding judge in the case.”

Standing Order at 6 (emphasis added). Because video exhibits, unlike other judicial records, are

not in a format that can be filed on ECF, and because of the high public interest in Capitol Breach

cases, the government agreed to facilitate publication of its own video exhibits used in hearings

and/or relied upon by the court (i.e., judicial records).

       However, the court maintains responsibility for making judicial records available for public

inspection and copying. In re Matter of Leopold, 964 F.3d 1121, 1134 (D.C. Cir. 2020) (“Providing

public access to judicial records is the duty and responsibility of the Judicial Branch.” Id.) The

government should not be responsible for publishing exhibits that are not submitted to the Court

by the government. Moreover, shifting such a responsibility upon the government raises a number

of problematic issues, some of which are implicated by this specific matter. Assuming

responsibility for the publication of content of any electronic exhibit filed by defense counsel may

implicate professional responsibility concerns regarding, for example, the improper release of

information in violation of the Privacy Act or having to vouch for the accuracy or completeness of

exhibits presented to the Court. In addition, requiring the government to publish defense video

exhibits may cause security risks for secure government systems by mandating that the government

host content created or maintained on non-government systems. And lastly, such a delegation


                                                   2
          Case 1:21-cr-00222-TFH Document 66 Filed 03/23/22 Page 3 of 3




would impose an enormous administrative burden upon the government. The government has

charged approximately 782 Capitol Breach defendants. If the court were to make similar orders to

the government directing that it provide the “drop box” publication option to defense exhibits

constituting judicial records, the government would be bound by these orders to track down and

receive video exhibits by defense counsel to comply with court-mandated deadlines. The burden

of obtaining and uploading potentially large numbers of exhibits generated by the defense across

these cases should not fall on the government.

       Wherefore, the government requests that the Court reconsider its March 22, 2022, Minute

Order directing the government to publish the video exhibit in question, and respectfully requests

that the Court make alternative arrangements to facilitate public access to the judicial record.



                                              Respectfully submitted,

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